
In re New Orleans Saints et al.; Louisiana Workers Compensation Corporation; — Defendant(s); Applying for Writ of Certiorari and/or Review Office of Workers’ Compensation District 7, No. 03-02081; to the Court of Appeal, Fifth Circuit, No. 08-CA-311.
Writ granted in part. Although the court of appeal remanded a portion of this matter for a re-calculation of “supplemental employment benefits” using a lower average weekly wage, this portion of the court of appeal’s opinion conflicts with its subsequent finding that the claimant is not entitled to supplemental employment benefits. Instead, we remand the matter to the Office of Workers Compensation for a recalculation of the temporary total benefits awarded the claimant for the time period of August 3, 2002 through December 31, 2003 at the lower average weekly wage rate. In all other respects, the application is denied.
GUIDRY, J., recused.
